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UNITED STATES BANKRUPTCY COURT
DISTRICT OF DELAWARE


 In re:                                                                      Chapter 11

 FTX Trading Ltd., et al.,                                                   Case No. 22-11068 (JTD)
                                       Debtors.
                                                                             Jointly Administered



                                TRANSFER OF CLAIM OTHER THAN FOR SECURITY

A CLAIM HAS BEEN FILED IN THIS CASE or deemed filed under 11 U.S.C. § 1111(a). Transferee hereby gives
evidence and notice pursuant to Rule 3001(e)(2), Fed. R. Bankr. P., of the transfer, other than for security, of the
claim referenced in this evidence and notice.


SP Multi Claims Holdings, LLC                                     Phoenix Digital LLC
Name of Transferee                                                Name and current address of Transferor

Name and Address where notices and payment                        Phoenix Digital LLC
to transferee should be sent:                                     42 W 33rd St, 27B
SP Multi Claims Holdings, LLC                                     New York, NY 10001
2 Greenwich Plaza                                                 Attn: Tian Zeng
Suite 1                                                           Email: tzeng@nirvana-cap.com
Greenwich, CT 06830
Attn: Operations
Email: 12017192157@tls.ldsprod.com -and-
       rbeacher@pryorcashman.com

     Claim Information                 Creditor Name               Amount               Debtor              Case Number
    Schedule No. 6223604              Phoenix Digital LLC         100% of the       FTX Trading, Ltd.         22-11068
                                                                     claim
    Confirmation ID No.               Phoenix Digital LLC         100% of the       FTX Trading, Ltd.         22-11068
 3265-70-EKTYC-239388388                                             claim
    Customer Code No.                 Phoenix Digital LLC         100% of the       FTX Trading, Ltd.         22-11068
         00676162                                                    claim

I declare under penalty of perjury that the information provided in this notice is true and correct to the best of
my knowledge and belief.

SP Multi Claims Holdings, LLC
By: Silver Point Capital, L.P., its manager

By:______________________
Transferee/Transferee’s Agent


Date: October __,
              3 2024
Penalty for making a false statement: Fine of up to $500,000 or imprisonment for up to 5 years, or both. 18 U.S.C. §§
152 & 357
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                                         EVIDENCE OF TRANSFER OF CLAIM
                                                          Annex B


 TO:                U.S. Bankruptcy Court for the
                    District of Delaware (“Bankruptcy Court”)


 AND:               FTX Trading Ltd. (“Debtor”)
                    Case No. 22-11068 (JTD) (“Case”)

 Schedule #: 6223604 (“Schedule”)
 Customer Claim Confirmation ID #: 3265-70-EKTYC-239388388 (the “Claim”)
 Unique Customer Code #: 00676162 (“Customer Code”)

 Phoenix Digital LLC (“Seller”), for good and valuable consideration the receipt and sufficiency of which is hereby
 acknowledged, does hereby unconditionally and irrevocably sell, transfer and assign unto:


                                       SP Multi Claims Holdings, LLC
                                       Attn: Operations
                                       2 Greenwich Plaza
                                       Suite 1
                                       Greenwich, CT 06830
                                       Email: : 12017192157@tls.ldsprod.com and rbeacher@pryorcashman.com



 its successors and assigns ("Buyer"), all rights, title and interest in and to (a) the Claim against the Debtor in the Case;
 (b) all amounts listed on the Schedule; and (c) all amounts with respect to the Customer Code.

 Seller hereby waives: (a) any objection to the transfer of the Claim to Buyer on the books and records of Debtor and
 the Bankruptcy Court; and (b) any notice or right to a hearing as may be imposed by Federal Rule of Bankruptcy
 Procedure 3001, the United States Bankruptcy Code, applicable local bankruptcy rules or applicable law. Seller
 acknowledges, understands, agrees, and hereby stipulates that an order of the Bankruptcy Court may be entered
 without further notice to Seller transferring the Claim to Buyer and recognizing Buyer as the sole owner and holder of
 the Claim.

 You are hereby directed to make all future payments and distributions free and clear of all setoffs and deductions, and
 to give all notices and other communications in respect of the Claim to Buyer.

 IN WITNESS WHEREOF, each of the undersigned have duly executed this Evidence of Transfer of Claim by their
 duly authorized representative dated September 25
                                                _, 2024.


 Phoenix Digital LLC                                                SP Multi Claims Holdings, LLC
                                                                    By: Silver Point Capital, L.P., its manager




 By                                                                 By: __________________________
 Name: Tian Zeng                                                    Name:
 Title: Founder                                                     Title:   Andrew Opel
                                                                               Authorized Signatory



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